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 8                                 UNITED STATES DISTRICT COURT
 9                                  FOR THE DISTRICT OF NEVADA
10
     Kartika Shetty, M.D., F.A.C.P.                         )   2:20-cv-00909-KJD-BNW
11                                                          )
                    Plaintiff,                              )   STIPULATION AND REQUEST
12
     v.                                                     )   TO EXTEND DATE FOR FEDERAL
13                                                          )   DEFENDANTS TO FILE RESPONSE
     U.S. Citizenship and Immigration Services, et al.      )   TO COMPLAINT (fourth request)
14                                                          )
                    Defendants.                             )   Current Date: January 11, 2021
15
                                                            )   New Date: February 10, 2021
16
            It is hereby agreed and stipulated by all parties, through their respective counsel, that the
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     due date for the federal Defendants to file their response to Plaintiff’s Complaint (Dkt. 1) may
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19   be extended by thirty (30) days to February 10, 2021. This is the fourth request to extend

20   Defendants’ deadline to respond to the complaint. It is requested that the Court approve this
21
     requested extension of time based on the following:
22
            1.      Plaintiff Kartika Shetty filed his complaint (Dkt. 1) on May 20, 2020. The
23
     complaint seeks to challenge the denial of Shetty’s filed “EB-1” visa petition which sought
24

25   classification of Shetty as an alien with extraordinary ability in the field of internal medicine

26   education. See Complaint (Dkt. 1) ¶ 1.
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            2.      By stipulated Order (Dkt. 18) entered on July 17, 2020, the deadline for the
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     Defendant federal agencies to respond to the complaint was extended until October 26, 2020,
 1

 2   to allow Defendant USCIS time to issue an administrative request for evidence (RFE) to obtain

 3   additional information from Plaintiff relevant to his visa application.
 4
              3.     By stipulated Order (Dkt. 20) entered on October 14, 2020, the deadline for the
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     Defendant federal agencies to respond to the complaint was extended until December 11, 2020,
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 7
     based on the expectation that additional information relevant to Plaintiff’s visa application would

 8   be received by USCIS and to allow time for the adjudication officer to review the materials.
 9            4.     By stipulated Order (Dkt. 22) entered on December 4, 2020, the deadline for the
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     Defendant federal agencies to respond to the complaint was extended until January 11, 2021, to
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     provide additional time for the USCIS adjudication officer to review the voluminous materials
12

13   submitted by Shetty and to issue a visa eligibility determination.

14            5.     The USCIS adjudication officer completed the eligibility assessment and issued a
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     decision by letter dated December 28, 2020.
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              6.     The requested extension of time is requested in order to provide time for Plaintiff
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     to review the decision letter submitted by USCIS and allow the parties to confer to determine the
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19   next steps or whether this matter can be resolved without further litigation or action from this

20   court.
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              Based on the foregoing, the parties request the Court approve the stipulation and the
22

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 1
     proposed extension of time to February 10, 2021, for the filing of Defendants’ response to the
 2
     Complaint.
 3

 4
     DATED January 8, 2021                               Respectfully submitted,
 5

 6   /s/ Daniel P. Pierce                                /s/ Greg Addington
 7
     DANIEL P. PIERCE                                    GREG ADDINGTON
     Counsel for Plaintiff                               Counsel for Federal Defendants
 8

 9
                                          ORDER
                                         IT IS SO ORDERED
10
                               IT IS SO ORDERED
11
                            DATED: 4:08 pm, January 11, 2021
     Date:_____________, 2021
12
                                           ___________________________________
13
                                           UNITED STATES MAGISTRATE JUDGE
14                             BRENDA WEKSLER
                               UNITED STATES MAGISTRATE JUDGE
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